                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                  SOUTHERN DIVISION

  IN RE: ESTATE OF OMA E. GRIFFITH,                  )
                                                     )
                               Deceased,             )
                                                     )
  DEBORAH HOOPER,                                    )
                                                     )
                               Plaintiff,            )       CIVIL ACTION NO.:
  v.                                                 )       1:14-CV-00231
                                                     )
  UNDERWRITERS AT LLOYD’S                            )
  750 7th Avenue, New York, New York                 )
  10019 and ATLANTIC SPECIALTY                       )
  LINES OF VIRGINIA, LLC, 9020                       )
  Stony Point Parkway, Suite 450                     )
  Richmond, Virginia 23235                           )
                                                     )
                               Defendants.           )

                                PARTIES’ CONSENT MOTION

         COME NOW Defendants, those Certain Underwriters at Lloyd’s, London subscribing to

  Policy No. AS201VA439743-0 (hereinafter “Underwriters”) (improperly named in the

  Complaint as “Underwriters at Lloyd's”); Atlantic Specialty Lines of Virginia, LLC, (hereinafter

  “ASL-Virginia,” collectively, the “Defendants”); and Plaintiff In re: Estate of Oma E. Griffith

  and Deborah Hooper, by and through their respective undersigned counsel, move the Court for

  an Order to allow Plaintiff until September 2, 2014, in which time to plead to each of the

  defendants’ respective Motions to Dismiss with Prejudice, or, in the alternative, Motion to

  Strike Complaint Exhibit “1.” The parties attach herewith a proposed consent order for the

  Court’s consideration.




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         Respectfully submitted this 18th day of August 2014.


  COZEN O'CONNOR                                     CAMERON & CAMERON, P.C.


  /s/ John W. Reis                                   /s/ J. Harvey Cameron
  John W. Reis                                       J. Harvey Cameron (with express permission)
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  Kenan G. Loomis                                    Counsel for Plaintiff In re: Estate of Oma E.
  Admission to Court and Pro Hac Vice                Griffith and Deborah Hooper
  Motion forthcoming
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  Stacey S. Farrell
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  Counsel for Defendants Certain Underwriters
  at Lloyd’s, London subscribing to Policy No.
  AS201VA439743-0 and Atlantic Specialty
  Lines of Virginia, LLC




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                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                  SOUTHERN DIVISION

  IN RE: ESTATE OF OMA E. GRIFFITH,                  )
                                                     )
                               Deceased,             )
                                                     )
  DEBORAH HOOPER,                                    )
                                                     )
                               Plaintiff,            )       CIVIL ACTION NO.:
  v.                                                 )       1:14-CV-00231
                                                     )
  UNDERWRITERS AT LLOYD’S                            )
  750 7th Avenue, New York, New York                 )
  10019 and ATLANTIC SPECIALTY                       )
  LINES OF VIRGINIA, LLC, 9020                       )
  Stony Point Parkway, Suite 450                     )
  Richmond, Virginia 23235                           )
                                                     )
                               Defendants.           )

                                      PROPOSED ORDER

         This Court having considered the parties’ Consent Motion to allow Plaintiff until

  September 2, 2014, in which time to plead to each of the Defendants’ Motion to Dismiss with

  Prejudice, or, in the alternative, Motion to Strike Complaint Exhibit “1,” the Consent Motion is

  hereby GRANTED, and Plaintiff must plead by or before September 2, 2014.

         SO ORDERED this _____ day of August, 2014.


                                                     District Judge Curtis L Collier




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                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                   SOUTHERN DIVISION

  IN RE: ESTATE OF OMA E. GRIFFITH,                     )
                                                        )
                                 Deceased,              )
                                                        )
  DEBORAH HOOPER,                                       )
                                                        )
                                 Plaintiff,             )       CIVIL ACTION NO.:
  v.                                                    )       1:14-CV-00231
                                                        )
  UNDERWRITERS AT LLOYD’S                               )
  750 7th Avenue, New York, New York                    )
  10019 and ATLANTIC SPECIALTY                          )
  LINES OF VIRGINIA, LLC, 9020                          )
  Stony Point Parkway, Suite 450                        )
  Richmond, Virginia 23235                              )
                                                        )
                                 Defendants.            )

                                   CERTIFICATE OF SERVICE

         I hereby certify that on August 18, 2014, I electronically filed the Parties’ Consent

  Motion and Proposed Order with the Clerk of Court using the CM/ECF system which will

  send notifications of such filing to all attorneys of record via electronic mail upon:

                                       J. Harvey Cameron, Esq.
                                      Cameron & Cameron, P.C.
                                   28 Courthouse Square, Suite 100
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                                           Jasper, TN 37347
                                             (423) 942-9975
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       This 18th day of August 2014.

                                           /s/ Stacey S. Farrell
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